UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JOHN HAMMERSCHMIDT

                           Plaintiff,                            Case No. 23-cv-10424-ER

           v.                                                    NOTICE OF VOLUNTARY
                                                                 DISMISSAL UNDER RULE
CONSOLIDATED COMMUNICATIONS                                      41(a)(1)(A)(i)
HOLDINGS, INC., ROBERT J CURREY,
ANDREW S. FREY, DAVID G. FULLER,
THOMAS A. GERKE, ROGER H. MOORE,
MARIBETH S. RAHE, MARISSA M. SOLIS,
and ROBERT UDELL, JR.,

                            Defendants.


         Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action without prejudice. This notice of

dismissal is being filed with the Court before service by Defendants of either an answer or a motion

for summary judgment.

 Dated: January 4, 2024                                    WOHL & FRUCHTER LLP


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